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EXHIBIT B
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Aaya POD at Whe

Sear Court Officers,

Tho COC has temporarily halted evictions through
October 3. 2021. Pursuant to the new COC order, you
aro hereby prohibited from conducting any evictions
until further notice.

Please be advised that failure to comply with ine order
could subject you to a fine of up to $100,000 and a
year in jail.

Thank you.
Chie! Judge McConico

 
